Colbert and wife sued to recover the title and possession of certain premises in the city of Houston, conveyed by them to M. L. Hughes and J. J. Lyles by deed dated February 28, 1910, and to cancel the deed of conveyance. The interest of Lyles subsequently passed to Hughes. It was alleged that the property was the homestead of Colbert and his wife at the time it was conveyed, and, while the deed upon its face was absolute, it was, in fact, intended as a mortgage, and was given to secure the repayment of a loan of $100 made by the grantees to the grantors. It was further alleged that the loan had been repaid. In response to a special issue submitted to the jury it was found that the conveyance in question was intended by the parties thereto as security for a loan; whereupon judgment was rendered in accordance with the prayer of the petition.
The only question presented by this appeal is the sufficiency of the evidence to support the finding of the jury upon the issue indicated. We have carefully examined the facts, and the conclusion is reached that the evidence abundantly supports the finding. It will serve no purpose to state the same in detail. The issue of veracity between the defendants and plaintiffs was sharply joined and by the jury resolved in the latter's favor — a conclusion which this court deems clearly and fully supported by the evidence.
Affirmed.